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           EXHIBIT A
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    EDUCATION

    Cheating at School Is Easier Than Ever—and It’s
    Rampant
    With many students at home, and with a mass of websites offering services to do their homework,
    schools have seen a surge in academic dishonesty




By Tawnell D. Hobbs
May 12, 2021 10:00 am ET




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A year of remote learning has spurred an eruption of cheating among students, from
grade school to college. With many students isolated at home over the past year—and
with a mass of online services at their disposal—academic dishonesty has never been so
easy.

Websites that allow students to submit questions for expert answers have gained millions
of new users over the past year. A newer breed of site allows students to put up their own
classwork for auction.

“Consider hiring me to do your assignment,” reads a bid from one auction site. “I work
fast, pay close attention to the instructions, and deliver a plagiarism-free paper.”

Some educators fear the new generation of cheaters will be loath to stop even after the
pandemic recedes. “Students have found a way to cheat and they know it works,” said
Thomas Lancaster, senior teaching fellow in computing at Imperial College in London,
who has studied academic integrity issues for more than two decades. He said cheating
sites number in the thousands, from individuals to large-scale operations.

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Concerned about his North Carolina State University students cheating in a statistics
class, Tyler Johnson launched a plan.

For the final exam, Mr. Johnson, a course coordinator, said he used a computer program
that generated a unique set of questions for each student. Those questions quickly
showed up on a for-profit homework website that helped him to identify who posted
them.

About 200 students were caught cheating—one-fourth of the class. Overall, cases of
academic dishonesty more than doubled in the 2019-20 academic year at NC State, with
the biggest uptick as students made the transition to online learning, according to the
school.




Tyler Johnson of North Carolina State University caught about 200 students cheating on an exam.
PHOTO: CHET STRANGE FOR THE WALL STREET JOURNAL


Texas A&M University had a 50% increase in cheating allegations in the fall from a year
earlier, with one incident involving 193 students self-reporting academic misconduct to
receive lighter punishment after faculty members caught on, a university official said. The
University of Pennsylvania saw cheating case investigations grow 71% in the 2019-20
academic year, school data shows.

Dozens of cadets at the U.S. Military Academy at West Point were caught cheating on an
online calculus exam last year, sharing answers with each other from home. The school
said in April it was ending a policy that protected cadets who admitted honor code
violations from being kicked out.




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Educators say stress and pressure, both significant effects of the pandemic, are a big
reason why students cheat. “Especially in a time of stress, they make poor choices,” said
Camilla Roberts, president of the International Center for Academic Integrity and
director of the Kansas State University Honor and Integrity System.

There is a line between students turning to homework help sites that offer study
resources and tutorials to better understand a subject, and copying answers found on
those sites onto homework and tests or hiring others to do their work.

Erik Johnson, an 18-year-old freshman at Miami University in Oxford, Ohio, who isn’t
related to Mr. Johnson of NC State, said he knows students who have used homework help
sites for studying—and for cheating. He said he hasn’t cheated himself.

He said students, including himself, are frustrated with virtual learning because there’s
less interaction with instructors and it’s not as structured. “I haven’t struggled this way
with learning material, ever,” he said. “It’s just really difficult to learn and retain the
information just exclusively at your own pace.”

At the K-12 level, some schools block a range of homework help websites from district
computers to prevent cheating—though that doesn’t stop a student from visiting the site
from a different device. Middle-school teacher Suzanne Priebe in Riverside, Calif., has put
less emphasis on testing during online learning to alleviate stress and the desire to cheat.
“We have no control of what is going on when you’re on a computer,” she said.

Online cheating has boosted another industry: surveillance-type companies that hire
online proctors to watch students take tests from home. The proctors look for suspicious
behavior, such as a student disappearing from camera view or being slipped answers.
Some use facial-detection software to check for wayward eyes and unusual movements.

Proctorio, based in Scottsdale, Ariz., said it proctored 21 million exams in 2020 world-
wide, up from 6 million exams in 2019.

ProctorU, based in Hoover, Ala., said students are finding unique ways to cheat. Some of
its busts include a student suspected of trying to use a drone’s camera to take images of a
test to possibly share with others; another who was trying to cheat by using information
on sticky notes on his dog; and a female student who sneezed and disappeared from view,
to suddenly be replaced by a male wearing a blond wig, impersonating her.



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            VIEW IN DEPTH




Winning bids
Among the newer ways to cheat are homework auction sites, which give students a say in
who does their work and at what price. Students post their assignment on a website,
along with a deadline; the website acts as a marketplace for bidders who offer to do the
assignment.

The bidders, who often refer to themselves as tutors, can tout degrees and other
credentials. Some companies allow students to rate their work and post reviews online.

While educators can use software to check for plagiarism, such tools aren’t much help
against services that produce original work.


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In February, auction website homeworkforyou.com featured one student post looking for
someone willing to do weekly school assignments, exams and a project for a business
class at York College in Queens, N.Y., over a two-month span. The winning bidder would
also need to pose as the student and respond to classmates in a group assignment. The
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student specified that an “A” was the desired outcome, and that the “willing to pay” fee
was $465.

By the next day, 29 bids had come in. The average was $479.41.

Homeworkforyou.com didn’t respond to requests for comment. It, like many other sites,
warns against users submitting work done as their own.

The Wall Street Journal put up a post on the site, titled “Wall Street Journal Needs Help
Cheating For Article.” The post noted the Journal was reporting on cheating and was
interested in talking to bidders, and wouldn’t pay the indicated $15 starting bid.

Bids started rolling in within seconds of the posting—seemingly, without bidders having
read the description. Bids reached a total of 13, at an average of $389.62, before the
Journal removed the post about 30 minutes into the auction. One bidder offered to do it
for $2,005.

“Hey buddy, your assignment falls under my specialization. Kindly Allow me to give you
the best grade in this,” reads one bid.

Bidders contacted by the Journal didn’t respond for comment or declined to be
interviewed.




Responses from bidders to a Wall Street Journal post on homeworkforyou.com. This is the private
screen a user sees after posting an assignment.
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Lesley Vos, a blogger and content strategist for Bid4Papers.com, a site where students can
auction out writing assignments, said its terms prohibit academic fraud and plagiarism.
She said the site is for educational purposes, with a hope to improve students’ grades
using methods such as guiding them on ideas, research and proper citations to avoid
plagiarism.

She said she supposes cheating can happen, but it would be on a student’s conscience.
“Students will never tell us how they’ve used our writers’ help,” she said.

One self-described independent tutor listed as Daniel Amaro in a Craigslist ad said in an
interview by text message that business was booming during the pandemic. The Craigslist
ad noted services such as doing students’ math work. The tutor disavowed the label of a
cheater for students, and said that the tutor helps students learn by providing written
tutorials and explanations for math problems.

“I suspect most of the students who reach out to me intend on turning in my work as their
own,” the tutor said. “But I don’t have control over their actions.”




A student attends a remote learning class last fall.
PHOTO: DANIEL ACKER/BLOOMBERG NEWS


The tutor touted bachelor’s and master’s degrees from Columbia University in the ad, but
the university said it was unable to locate such information in its records. After being
asked about the discrepancies by a reporter, the tutor said that Daniel Amaro was an alias,
and asked to no longer be included in the Journal’s article.

Students have filed complaints against services with the Better Business Bureau for not
getting the grade promised as well as for unoriginal work, late assignments or billing

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concerns.

One student filed a complaint to the bureau in November about allassignmenthelp.org,
which promises to complete dissertations, essays and other coursework, saying it did
poor work and was misleading on what it would provide. The student also claimed that
the site made threats about legal action and notifying school administrators about
cheating.

“They make sure that their customers give them all info, including street address, school
login credentials, school name…to scam, blackmail, threaten and extort if customers do
not comply with their demands,” the student wrote in the complaint.

The student, who claimed to have lost $1,000 in the transaction, declined to comment
through the Better Business Bureau. Allassignmenthelp.org didn’t respond to requests for
comment.


Homework help
Other popular websites that students use to get help—by submitting a question for an
expert to quickly answer, or by searching a database of previous answers—include Chegg
and Brainly, which said they have seen a big increase in users during the pandemic.

Officials at the sites said the majority of subscribers aren’t cheating but trying to fill in
gaps left by remote learning, with parents also turning to the sites to help their children
study. Rules on the sites warn against cheating, such as copying content for use on essays
or other classwork, or asking for answers to active test questions.

SHARE YOUR THOUGHTS


What can schools do to prevent online cheating? Join the conversation below.



“If you break any of those rules, your account can be deleted and you can be banned from
the community,” said Jakub Piwnik, Brainly’s communications director. “Most of the kids
out there know what is allowed and what is not. It’s sad that some of them want to break
the rules.”

Mr. Piwnik said world-wide users grew to 350 million monthly in 2020, from about 200
million in 2019. The basic service is free, while a $24 annual subscription is ad-free and
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gives access to premium features.

Chegg, a publicly held company based in Santa Clara, Calif., prides itself on a willingness
to help institutions determine the identities of those who cheat. It allows educators to
report copyright information found on the site. The company saw total net revenue of
$644.3 million in 2020, a 57% increase year over year. Subscribers hit a record 6.6 million,
up 67%.

Chegg allows students to send in photos of questions they want answered. Monthly
subscription costs range from $9.95 to $19.95.

Mr. Johnson at NC State said Chegg helped identify the 200 students that used its website
to cheat on his final exam. Some students posted exam questions to get answers while
others accessed the information, all traceable through users’ email addresses, IP
addresses and the time of the access.




‘A lot of the students responsible said, “It’s unfair to put us through this, because we’re going
through a pandemic,”’ said Mr. Johnson.
PHOTO: CHET STRANGE FOR THE WALL STREET JOURNAL


Another website that students were suspected of using to cheat on the exam to a lesser
extent didn’t cooperate with the university, Mr. Johnson said.

The students were given three options: accept responsibility, meet with Mr. Johnson over
Zoom to review the evidence and go from there, or dispute it with the Office of Student
Conduct. The punishment would include a zero on the exam and academic integrity
probation, with a second violation resulting in suspension for a semester.



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“A lot of the students responsible said, ‘It’s unfair to put us through this, because we’re
going through a pandemic,’ ” Mr. Johnson said.

He said about half the students requested the Zoom meeting, with many admitting
responsibility. About 30 to 35 went with the hearing, he said, and only one was fully
vindicated.

Some parents threatened legal action, Mr. Johnson said. An online petition with 786
signatures by April 1 criticized him, saying a misinterpretation of instructions led to
confusion of what could be used to complete the exam. He disputes that.

Even after the bust, the cheating didn’t stop.

“In the fall semester, of 1,000 students, I still had academic integrity issues with 70 or 80,”
he said. “It’s still an ongoing thing.”

Write to Tawnell D. Hobbs at Tawnell.Hobbs@wsj.com

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